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                                                                              EXHIBIT A


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

                                                            )
In re:                                                      )         Chapter 11
                                                            )
GUITAR CENTER HOLDINGS, INC.,1                              )         Case No. 20-34657 (KRH)
                                                            )
         Reorganized Debtor.                                )         (Formerly Jointly Administered
                                                            )         Under the Lead Case: Guitar Center,
                                                            )         Inc., Case No. 20-34656)

                ORDER GRANTING MOTION OF LANDLORD-CREDITOR
             PURSUANT TO SECTION 365(d)(3) OF THE BANKRUPTCY CODE
             TO COMPEL THE PAYMENT OF POST-PETITION OBLIGATIONS

          Upon the motion (the “Motion”) of Elmwood NYT Owner, LLC, Oakwood NYT Owner,

 LLC, Wallkill NYT Owner, LLC, and Landings NYT Owner, LLC (collectively, “Landlord”), for

 entry of an order (the “Order”), pursuant to section 365(d)(3) of Title 11 of the United States Code

 (the “Bankruptcy Code”), (i) compelling the above-captioned debtors (the “Debtors”) to promptly

 perform their obligations under the Lease (as defined in the Motion), including, without limitation,

 the obligation to pay post-petition monthly rent and additional rent from the Petition Date (as




 1
      The Reorganized Debtor in this case, along with the last four digits of the Reorganized Debtor’s Federal tax
      identification number, is Guitar Center Holdings, Inc. (3262).
_____________________________________________                  _____________________________________________
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Michael D. Mueller, Esquire (VSB No. 38216)                    ROSENBERG & ESTIS, P.C.
Jennifer M. McLemore, Esquire (VSB No. 47164)                  733 Third Avenue
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Facsimile: (804) 420-6507                                      Counsel for Landlord-Creditor Elmwood NYT Owner,
Email: aepps@williamsmullen.com                                LLC, Oakwood NYT Owner, LLC, Wallkill NYT Owner,
         mmueller@williamsmullen.com                           LLC, and Landings NYT Owner, LLC
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Counsel for Landlord-Creditor Elmwood NYT Owner,
LLC, Oakwood NYT Owner, LLC, Wallkill NYT Owner,
LLC, and Landings NYT Owner, LLC
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defined in the Motion) through the Date of Rejection (as defined in the Motion), and (ii) to the

extent that the Debtors are unable to satisfy their obligations under section 365(d)(3) of the

Bankruptcy Code, granting Landlord an allowed administrative claim for all amounts owed under

the Lease from the Petition Date through the Date of Rejection, as set forth in Exhibit D to the

Motion; and it appearing that this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. §

157(b); and it appearing that venue of this Motion is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and proper and sufficient notice of this Motion having been given; and objections, if any, to

the Motion having been withdrawn, resolved or overruled on the merits; and a hearing having been

held to consider the relief requested in the Motion; and upon the record of the hearing and all of

the proceedings had before this Court; and this Court having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefore;

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is granted.

       2.      The Debtors are hereby directed to pay Landlord all amounts due under the Lease

from the Petition Date through the Date of Rejection as set forth in Exhibit D to the Motion, within

5 business days of the date of entry of this Order.

       3.      To the extent that the Debtors are unable to satisfy their obligations under section

365(d)(3) of the Bankruptcy Code, Landlord is granted an allowed administrative claim for all

amounts owed under the Lease from the Petition Date through the Date of Rejection.

       4.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.




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        5.    This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, enforcement and interpretation of this Order.

ENTERED:
                                                     ____________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE

WE ASK FOR THIS:


/s/
Augustus C. Epps, Jr., Esquire
Michael D. Mueller, Esquire
Jennifer M. McLemore, Esquire
Bennett T. W. Eastham, Esquire
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-and-

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and Landings NYT Owner, LLC




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                       CERTIFICATION OF ENDORSEMENT
                    UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

       Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
proposed order has been endorsed by or served upon all necessary parties.



                                                   /s/
                                                   Jennifer M. McLemore


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